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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

PERMANENT SELECT COMMITTEE
ON INTELLIGENCE OF THE U.S.
HOUSE OF REPRESENTATIVES,

Defendant-Intervenor.

)
BEAN LLC d/b/a FUSION GPS )
)
Plaintiff, )
)
v. )
) Civil Action l7-cv-2187-RJL
DEFENDANT BANK, )
)
Defendant, )
)
and )
)
)
)
)
)
)
)

 

DECLARATION OF GLENN R. SIMPSON IN SUPPORT OF
PLAINTIFF’S NOTICE OF ADDITIONAL RECORD EVIDENCE
I, GLENN R. SIMPSON, hereby declare as follows:

l. My name is Glenn R. Simpson, and I am of legal age and competent to give this
declaration l am familiar with the facts and circumstances set forth herein and if called upon
could competently testify thereto.

2. I arn a member of Bean LLC d/b/a Fusion GPS (“Fusion GPS”), which is a
partnership of four individuals Fusion GPS was founded by experienced investigative
journalists who apply investigative reporting skills to Fusion’s clients’ projects and needs.

3. On August 22, 2017, I participated in a closed-door interview with the Senate
Judiciary Committee related to the Committee’s investigation into Russian interference in the

2016 presidential election. At that interview, staff from the Senate Judiciary Committee asked

 

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about Defendant Bank by name, and I confirmed its identity as Fusion GPS’s bank. I am not
aware of any other sources from which the Committee or the media could have learned of this
information

4. On October 4, 2017, Congressman Devin Nunes, chairman of the House
Permanent Select Committee on Intelligence (“HPSI”), served Fusion GPS’s bank with a
subpoena demanding all of Fusion GPS’s records from August 2015 to the present I was
informed on 0ctober 13 that the subpoena had been served.

5. 'I`he bank records reflect that Fusion contracted with Nellie Ohr, a former
government official expert in Russian matters, to help our company with its research and
analysis of Mr. rl`rump I am not aware of any other sources from which the Committee or the
media could have learned of this information

6. At my voluntary interview before HPSCI, on November 14, 2017, I disclosed that
I met with Bruce Ohr, at his request, after the November 2016 election to discuss our findings
regarding Russia and the election I am not aware of any other sources from which the Committee
or the media could have learned of this informationk

7. l I declare under penalty of perjury under the laws of the United States of America
that the foregoing is true and correct.

Executed on this 12th day of December 2017 in Washington, D. C.

YQ\/§Z`_

Glenn R. Simpsoli§

